Case 4:20-cv-00957-SDJ Document 645-1 Filed 10/24/24 Page 1 of 4 PageID #: 22629
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  From:               GARRETT, Tyler
  To:                 Marc B. Collier; Noah Heinz; EWALT, Andrew (AJE); Geraldine W. Young; Zeke DeRose
  Cc:                 Kathy Patrick; MCCALLUM, Robert; Michael Doman; Jonathan Wilkerson; MAHR, Eric (EJM); Charles M. Rosson;
                      jhunsberger@axinn.com; LEONARD, Claire; Trevor Young; Ashley Keller; alex.brown; John McBride; Alex Abston; Marisa Madaras
                      Bonaparte; HENDERSON, Andrew; BOSCO, Veronica; alebeck@gibbsbruns.com; Michael Davis; Kiran Bhat; Ethan Glenn
  Subject:            RE: Scheduling EDTX Expert Depositions
  Date:               Tuesday, October 15, 2024 7:31:08 AM



     You don't often get email from tyler.garrett@freshfields.com. Learn why this is important
  Hi Marc,

  Google proposes taking the deposition of Dr. Hochstetler with respect to his supplemental report, for up to seven hours
  on the record, on either October 31 or November 1. Please let us know if either of those dates are agreeable to Plaintiffs
  and if Plaintiffs intend to make Dr. Hochstetler available at the same location as his 10/1 deposition (Norton Rose’s
  Dallas, TX office). Given that Plaintiffs served this report outside of the expert report schedule and without leave, Google
  may choose to serve one or more responsive reports. We will reach out regarding the timing of any further reports once
  Google has made that determination.

  Best,
  Tyler

  From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
  Sent: Monday, October 14, 2024 9:59 AM
  To: Noah Heinz <noah.heinz@kellerpostman.com>; EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>;
  GARRETT, Tyler <Tyler.Garrett@freshfields.com>; Geraldine W. Young
  <geraldine.young@nortonrosefulbright.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>
  Cc: Kathy Patrick <kpatrick@gibbsbruns.com>; MCCALLUM, Robert <rob.mccallum@freshfields.com>; Michael
  Doman <mdoman@gibbsbruns.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; MAHR, Eric
  (EJM) <Eric.MAHR@freshfields.com>; Charles M. Rosson <CRosson@gibbsbruns.com>; jhunsberger@axinn.com;
  LEONARD, Claire <Claire.Leonard@freshfields.com>; Trevor Young <Trevor.Young@oag.texas.gov>; ack
  <ack@kellerpostman.com>; alex.brown <alex.brown@lanierlawfirm.com>; John McBride
  <john.mcbride@nortonrosefulbright.com>; Alex Abston <Alex.Abston@LanierLawFirm.com>; Marisa Madaras
  Bonaparte <marisa.madaras@nortonrosefulbright.com>; HENDERSON, Andrew
  <Andrew.Henderson@freshfields.com>; BOSCO, Veronica <Veronica.Bosco@freshfields.com>;
  alebeck@gibbsbruns.com; Michael Davis <mdavis@gibbsbruns.com>; Kiran Bhat <kiran.bhat@kellerpostman.com>;
  Ethan Glenn <ethan.glenn@nortonrosefulbright.com>
  Subject: RE: Scheduling EDTX Expert Depositions

  Counsel,

  Can you advise regarding preferred dates? Assuming Google wishes to depose on the
  supplement, we’d like to schedule this for a convenient date for the witness and all
  counsel.

  Thanks, Marc

  From: Noah Heinz <Noah.Heinz@kellerpostman.com>
  Sent: Thursday, October 10, 2024 3:38 PM
  To: Marc B. Collier <marc.collier@nortonrosefulbright.com>; Andrew.Ewalt <Andrew.Ewalt@freshfields.com>;
  GARRETT, Tyler <Tyler.Garrett@freshfields.com>; Geraldine W. Young
  <geraldine.young@nortonrosefulbright.com>; Zeke DeRose III <zeke.derose@lanierlawfirm.com>
  Cc: Kathy Patrick <kpatrick@gibbsbruns.com>; rob.mccallum <rob.mccallum@freshfields.com>; Michael Doman
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  <Eric.MAHR@freshfields.com>; Charles M. Rosson <CRosson@gibbsbruns.com>; Hunsberger, James K.
  <jhunsberger@axinn.com>; LEONARD, Claire <Claire.Leonard@freshfields.com>; Trevor Young
  <Trevor.Young@oag.texas.gov>; ack <ack@kellerpostman.com>; alex.brown <alex.brown@lanierlawfirm.com>;
  John McBride <john.mcbride@nortonrosefulbright.com>; Alex Abston <Alex.Abston@LanierLawFirm.com>; Marisa
  Madaras Bonaparte <marisa.madaras@nortonrosefulbright.com>; HENDERSON, Andrew
  <Andrew.Henderson@freshfields.com>; BOSCO, Veronica <Veronica.Bosco@freshfields.com>;
  alebeck@gibbsbruns.com; Michael Davis <mdavis@gibbsbruns.com>; Kiran Bhat <kiran.bhat@kellerpostman.com>
  Subject: Re: Scheduling EDTX Expert Depositions

  Counsel,

  We wanted to follow-up on this. Is there a date that you would prefer for a deposition of Dr.
  Hochstetler with respect to his opinions on Chats?

  Best,
  Noah Heinz
  Associate

  Keller | Postman
  1101 Connecticut Avenue, N.W., 11th Floor | Washington, D.C., 20036
  202.918.1841 | Email | Bio | Website




  From: Marc B. Collier <marc.collier@nortonrosefulbright.com>
  Date: Friday, October 4, 2024 at 8:48 PM
  To: Andrew.Ewalt <Andrew.Ewalt@freshfields.com>, GARRETT, Tyler
  <Tyler.Garrett@freshfields.com>, Geraldine W. Young <geraldine.young@nortonrosefulbright.com>,
  Zeke DeRose <zeke.derose@lanierlawfirm.com>
  Cc: Kathy Patrick <kpatrick@gibbsbruns.com>, rob.mccallum <rob.mccallum@freshfields.com>,
  Michael Doman <mdoman@gibbsbruns.com>, Jonathan Wilkerson
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  Eric.MAHR <Eric.MAHR@freshfields.com>, Charles M. Rosson <CRosson@gibbsbruns.com>,
  Hunsberger, James K. <jhunsberger@axinn.com>, LEONARD, Claire
  <Claire.Leonard@freshfields.com>, Trevor Young <trevor.young@oag.texas.gov>, Ashley Keller
  <ack@kellerpostman.com>, alex.brown <alex.brown@lanierlawfirm.com>, John McBride
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  alebeck@gibbsbruns.com <alebeck@gibbsbruns.com>, Michael Davis <mdavis@gibbsbruns.com>
  Subject: RE: Scheduling EDTX Expert Depositions

  Andrew and Google counsel,

  As discussed below, please find for service a copy of the Supplemental Expert Report of Jacob Hochstetler (solely on
  chats) as well as his Appendix spreadsheet in native format for your convenience.

  I hope everyone has a nice weekend.

  Thanks, Marc



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  From: Marc B. Collier
  Sent: Friday, September 27, 2024 4:37 PM
  To: EWALT, Andrew (AJE) <Andrew.Ewalt@freshfields.com>; GARRETT, Tyler <Tyler.Garrett@freshfields.com>;
  Geraldine W. Young <geraldine.young@nortonrosefulbright.com>; Zeke DeRose III
  <zeke.derose@lanierlawfirm.com>
  Cc: Kathy Patrick <kpatrick@gibbsbruns.com>; rob.mccallum <rob.mccallum@freshfields.com>; Michael Doman
  <mdoman@gibbsbruns.com>; Jonathan Wilkerson <Jonathan.Wilkerson@LanierLawFirm.com>; Noah Heinz
  <noah.heinz@kellerpostman.com>; Eric.MAHR <Eric.MAHR@freshfields.com>; Charles M. Rosson
  <CRosson@gibbsbruns.com>; Hunsberger, James K. <jhunsberger@axinn.com>; LEONARD, Claire
  <Claire.Leonard@freshfields.com>; Trevor Young <Trevor.Young@oag.texas.gov>; ack <ack@kellerpostman.com>;
  alex.brown <alex.brown@lanierlawfirm.com>; John McBride <john.mcbride@nortonrosefulbright.com>; Alex
  Abston <Alex.Abston@LanierLawFirm.com>; Marisa Madaras <marisa.madaras@nortonrosefulbright.com>;
  HENDERSON, Andrew <Andrew.Henderson@freshfields.com>; BOSCO, Veronica
  <Veronica.Bosco@freshfields.com>; alebeck@gibbsbruns.com; Michael Davis <mdavis@gibbsbruns.com>
  Subject: RE: Scheduling EDTX Expert Depositions

  Andrew,

  Thank you and I’ll allow other of the States’ counsel to follow-up if needed on the below. I did want to write
  regarding one supplemental point related to the upcoming Tuesday deposition of Professor Hochstetler.

  As you are aware, Google first began production of this Chat log data in late August 2024, and was still clarifying
  information about these logs as of this Tuesday. As noted in Professor Hochstetler’s rebuttal report, he has always
  indicated he would issue a supplemental report on Google Chat log data when that information was finally
  received. We now anticipate that we will serve that supplemental report next week on the issue of Google Chats in
  light of Google’s new productions of data and clarifying information.

  To avoid disruption of the agreed schedule, we will proceed with Professor Hochstetler’s deposition on Tuesday on
  his opening and rebuttal reports as planned. However, we will also make him available for 2 hours on the record
  solely on his supplemental report at a later, agreed date.

  Thanks, Marc




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